       Case 1:21-mj-00030-SKO Document 13 Filed 04/19/21 Page 1 of 1


1
2
3
4
5
6                              IN THE UNITED STATES DISTRICT COURT
7                           FOR THE EASTERN DISTRICT OF CALIFORNIA
8    UNITED STATES OF AMERICA,                     )     Case №: 1:21-MJ-00030-2-SKO
                                                   )
9                     Plaintiff,                   )                    ORDER
                                                   )               APPOINTING COUNSEL
10            vs.                                  )
                                                   )
11   JORGE PEREZ,                                  )
                                                   )
12                    Defendant.                   )
                                                   )
13
              The above named Defendant has, under oath, sworn or affirmed as to his financial
14
15   inability to employ counsel or has otherwise satisfied this Court that he is financially unable to

16   obtain counsel and wishes counsel be appointed to represent him. Therefore, in the interests of

17   justice and pursuant to the U.S. CONST., amend VI and 18 U.S.C. § 3006A,
18
              IT IS HEREBY ORDERED that Harry M. Drandell be appointed to represent the above
19
     defendant in this case effective nunc pro tunc to April 15, 2021.
20
              This appointment shall remain in effect until further order of this court.
21
22
     IT IS SO ORDERED.
23
     Dated:     April 19, 2021
24                                                       UNITED STATES MAGISTRATE JUDGE
25
26
27
28

                                                       -1-
